         Case 1:17-cv-09002-LAS Document 169 Filed 04/01/19 Page 1 of 2




               United States Court of Federal Claims
                                          No. 17-9002
                                      Filed: April 1, 2019

                                               )
 IN RE DOWNSTREAM ADDICKS                      )
 AND BARKER (TEXAS) FLOOD-                     )
 CONTROL RESERVOIRS                            )
                                               )
                                               )
                                               )
 THIS DOCUMENT APPLIES TO:                     )
                                               )
 ALL DOWNSTREAM CASES                          )
                                               )

                                             ORDER

         On February 20, 2018, defendant filed a Motion to Dismiss pursuant to Rules 12(b)(1)
and 12(b)(6) of the Rules of the Court of Federal Claims (“RCFC”). Plaintiff filed its Response
to the government’s Motion to Dismiss on March 30, 2018. Defendant filed its Reply in Support
of its Motion to Dismiss on April 11, 2018. This Motion is fully briefed and ripe for review.

         On January 7, 2019, this case was reassigned to Senior Judge Loren Smith. Upon review
of the docket, the Court determined that jurisdictional issues exist that must be addressed before
a liability trial can be held, and the Court held oral argument on the Motion to dismiss in
Houston, Texas on March 13, 2019. After a very useful oral argument and upon extensive and
careful review of the jurisdictional issues and applicable legal standards, the Court believes that
further briefing is necessary and that a determination on jurisdiction is most appropriately
preserved for a concurrent decision on Summary Judgment.

       In the coming weeks, the Court will hold a telephonic status conference to discuss a
procedural schedule for briefing on Cross-Motions for Summary Judgment. In briefing those
motions, the parties shall be allotted an additional ten (10) pages, in which to further address the
following issues:

       1. Whether a protected property interest exists under Texas law when flooding has
          occurred as a direct result of mitigating flood control efforts in the face of an Act of
          God; and

       2. The general applicability of the Flood Control Act of 1928, its successor acts, and the
          definition of “floods or flood waters.”
         Case 1:17-cv-09002-LAS Document 169 Filed 04/01/19 Page 2 of 2



       This will, in the Court’s view, contribute to the clarification of the jurisdictional and
substantive issues if a trial is to be held. For the foregoing reasons, defendant’s Motion to
Dismiss is hereby STAYED, pending briefing on Cross-Motions for Summary Judgment.

       IT IS SO ORDERED.


                                                    s/   Loren A. Smith
                                                    Loren A. Smith,
                                                    Senior Judge
